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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.

  ALEX JACOBS,

         Plaintiff,                                        CLASS ACTION COMPLAINT
  v.

  QUICKEN LOANS, INC.,                                     DEMAND FOR JURY TRIAL
  a Michigan corporation,

        Defendant.
  ________________________________/

                                  CLASS ACTION COMPLAINT

         Plaintiff Alex Jacobs (“Plaintiff”) files this Class Action Complaint, on behalf of himself

  and all others similarly situated (the “Class”) against Defendant Quicken Loans, Inc., a Michigan

  corporation (“Defendant” or “Quicken”) and alleges as follows:

                                        NATURE OF ACTION

         1.      Defendant violated the Telephone Consumer Protection Act by placing phone

  calls, using an automatic telephone dialing system or pre-recorded or artificial voice, to the

  cellular phones of Plaintiff and the Class, without the express consent of Plaintiff and the Class.

         2.      Plaintiff alleges, individually on behalf of the Class defined below, a violation of

  his fundamental rights, and those of the Class, under the Telephone Consumer Protection Act,

  (“TCPA”).

                                         JURISDICTION AND VENUE

         3.      This Court has jurisdiction under 28 U.S.C. § 1331, 47 U.S.C. §227.

         4.      This Court also has jurisdiction over this action pursuant to 28 U.S.C.

  §1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one

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  member of the Class is a citizen of a different state than Defendant, there are more than 100

  members of the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive of

  interest and costs.

          5.      Venue in this District is proper because Plaintiff resides here, Defendant transacts

  business in this District, and Defendant placed telephone calls to Plaintiff and members of the

  Class in this District.

                                                 PARTIES

          6.      Plaintiff Alex Jacobs is a natural person and citizen of the State of Florida, and a

  resident of Palm Beach County, Florida.

          7.      Defendant Quicken Loans, Inc., is a Michigan corporation with its principle place

  of business at 1050 Woodward Avenue, Detroit, Michigan 48226.

                                            FACTUAL ALLEGATIONS

          8.      On December 20, 1991, Congress enacted the TCPA to govern and restrict

  telemarketing activities conducted via phone and facsimile.           Congress passed the Act based, in

  part, on the following findings:

         (a)     The use of the telephone to market goods and services to the home and other
  businesses is now pervasive due to the increased use of cost-effective telemarketing techniques.

         (b)      Over 30,000 businesses actively telemarket goods and services to business and
  residential customers.

          (c)     More than 300,000 solicitors call more than 18,000,000 Americans every day.

         (d)    Total United States sales generated through telemarketing amounted to
  $435,000,000,000 in 1990, a more than four-fold increase since 1984.

        (e)    Unrestricted telemarketing, however, can be an intrusive invasion of privacy and,
  when an emergency or medical assistance telephone line is seized, a risk to public safety.

          (f)     Many consumers are outraged over the proliferation of intrusive, nuisance calls to

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  their homes from telemarketers.

          (g)    The U.S. Constitution does not prohibit restrictions on commercial telemarketing
  solicitations.

         (h)     Individuals' privacy rights, public safety interests, and commercial freedoms of
  speech and trade must be balanced in a way that protects the privacy of individuals and permits
  legitimate telemarketing practices.

          (i)      Evidence compiled by the Congress indicates that residential telephone
  subscribers consider automated or prerecorded telephone calls, regardless of the content or the
  initiator of the message, to be a nuisance and an invasion of privacy.

         (j)     Technologies that might allow consumers to avoid receiving such calls are not
  universally available, are costly, are unlikely to be enforced, or place an inordinate burden on the
  consumer.

          (k)     Banning such automated or prerecorded telephone calls to the home, except when
  the receiving party consents to receiving the call or when such calls are necessary in an
  emergency situation affecting the health and safety of the consumer, is the only effective means
  of protecting telephone consumers from this nuisance and privacy invasion.

         (l)     Businesses also have complained to the Congress and the Federal
  Communications Commission that automated or prerecorded telephone calls are a nuisance, are
  an invasion of privacy, and interfere with interstate commerce.

        Section 2 of Pub. L. 102-243 (Congressional Statement of Findings).

        9.       As explained by The United States Supreme Court:

         “Unrestricted telemarketing,” Congress determined, “can be an intrusive invasion
         of privacy.” TCPA, 105 Stat. 2394, note following 47 U.S.C. § 227
         (Congressional Findings) (internal quotation marks omitted). In particular,
         Congress reported, “[m]any consumers are outraged over the proliferation of
         intrusive, nuisance [telemarketing] calls to their homes.” Ibid. (internal quotation
         marks omitted). “[A]utomated or prerecorded telephone calls” made to private
         residences, Congress found, were rightly regarded by recipients as “an invasion of
         privacy.”

  Mims v. Arrow Financial Services, LLC, 132 Sup. Ct. 740, 745 (2012)(citations omitted).

         10.     The TCPA regulates, among other things, the use of automatic telephone dialing

  systems, which is sometimes called an automated dialer.


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         11.     “Automatic telephone dialing system” and “automated dialer” means, inter alia,

  any equipment that has the “capacity” to dial numbers without human intervention.

         12.     Specifically, the plain language of section 227(b)(1)(A)(iii) prohibits the use of

  automatic telephone dialing systems to make any call to a wireless number in the absence of an

  emergency or the prior express consent of the called party. 47 U.S.C. § 227(b)(1)(A)(iii).

         13.     On or about September 2, 2015, Defendant utilized an automated dialer to initiate

  a phone call to Plaintiff’s cellular phone.

         14.     On or about September 2, 2015, Defendant utilized an automated dialer to initiate

  a phone call to Plaintiff’s cellular phone for the purpose of soliciting Plaintiff to procure a loan

  with or through Defendant.

         15.     Defendant’s telephone calls placed using an automated dialer to Plaintiff were not

  for “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

         16.     Plaintiff never gave Defendant express consent to use an automatic telephone

  dialing system or pre-recorded or artificial voice to call Plaintiff’s cellular phone.

         17.     Defendant’s initiation of this phone call to Plaintiff, using an automatic telephone

  dialing system, is a per se violation of the TCPA.

         18.     Plaintiff’s experience is not unique.

         19.     Defendant engages in a practice whereby it obtains information about persons,

  (defined below as the Class) including but not necessarily limited to their name and telephone

  number, for the purpose of engaging in telemarketing to such persons for mortgage loans and/or

  other financial services. Defendant does not obtain from such persons their prior express consent




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  to use an automatic telephone dialing system or pre-recorded or artificial voice to call their

  cellular phones, and the calls placed are not for emergency purposes.

          20.      Like its calls to Plaintiff, Defendant called the Class’ cellular phones, without

  their express permission and using an automatic telephone dialing system or pre-recorded or

  artificial voice.

          21.      Like its calls to Plaintiff, Defendant’s telephone calls placed to the Class’s

  cellular phones using an automated dialer were not for “emergency purposes” as specified in 47

  U.S.C § 227 (b)(1)(A), and Defendant did not obtain the prior express consent of the Class to

  make such calls.

                                              CLASS ALLEGATIONS

          22.      Class Definition: Plaintiff brings this action against Defendant pursuant to Rule

  23 of the Federal Rules of Civil Procedure on behalf of himself and on behalf of all others

  similarly situated.    Plaintiff seeks to represent the following class:

                all persons within the United States who received a non-emergency telephone
                call on their cellular telephone initiated by Defendant, or anyone acting on
                Defendant’s behalf, through the use of an automatic telephone dialing system
                or an artificial or prerecorded voice, for which Plaintiff and the Class did not
                give prior express consent, from October 6, 2011 through the present.

  Plaintiff is a member of, and seeks to represent, the Class. Excluded from the Class are

  Defendant, and its affiliates, subsidiaries, agents, board members, directors, officers, and/or

  employees.

          23.      Plaintiff reserves the right to modify or amend these proposed Class definition

  prior and up to the time when the Court determines whether certification is appropriate.

          24.      Numerosity:      The individual class members are so numerous that joinder of all

  members is impracticable.       Although the precise number of Class members is presently known

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  only to Defendant, and thus cannot be ascertained by Plaintiff until the parties conduct discovery,

  the Class is virtually certain to include thousands or persons (and likely includes a far greater

  number of persons), a number which is impracticable to consolidate.

         25.      The identities of the individual class members, including their names and

  addresses, are readily ascertainable through Defendant’s records as the software and hardware

  used by Defendant, or those acting on Defendant’s behalf, to initiate phone calls to Plaintiff and

  the Class using an automated dialer maintains such data.

         26.      Plaintiff does not anticipate any difficulties in the management of the action as a

  class action.

         27.      Commonality:       There are questions of law and fact that are common to

  Plaintiff’s and the Class Members’ claims.          These common questions predominate over any

  questions that go particularly to any individual member of the Class.               Among such common

  questions of law and fact are the following:

         a.       Whether Defendant made calls to Plaintiff’s and Class members’ cellular
                  telephones using an automatic telephone dialing system or an artificial or
                  prerecorded voice;

         b.       Whether Defendant obtained prior express consent from Plaintiff and the Class to
                  call their cellular phones using an automatic telephone dialing system or an
                  artificial or prerecorded voice;

         c.       Whether Defendant’s calls to Plaintiff’s and Class members’ cellular telephones
                  using an automatic telephone dialing system or an artificial or prerecorded voice
                  were for emergency purposes;

         d.       Whether Defendant’s conduct was knowing and/or willful;

         e.       Whether Defendant is liable for damages, and the amount of such damages; and

         f.       Whether Defendant should be enjoined from engaging in such conduct in the
                  future.


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            28.     Typicality: Plaintiff is a member of the proposed Class and, Plaintiff’s claims

  are typical of the claims of the Class because of the similarity, uniformity, and common purpose

  of Defendant’s unlawful conduct in calling Plaintiff and the Class, using an automated dialer, or

  artificial or pre-recorded voice, without their prior express consent and for non-emergency

  purposes. Each Class member has sustained, and will continue to sustain, damages in the same

  manner as Plaintiff as a result of Defendant’s wrongful conduct.

            29.     Adequacy of Representation: Plaintiff is an adequate representative for the

  Class and will fairly and adequately protect the interests of the Class. Plaintiff is committed to

  vigorous prosecution of this action, and has retained competent counsel who are experienced in

  class action litigation and, in particular, consumer-related class actions.          There is no hostility

  between Plaintiff and the other members of the Classes.

            30.     Plaintiff has retained the law firm of Wites & Kapetan, P.A. to prosecute this

  action.    The firm is highly experienced in handling class action litigation matters and has the

  financial and other resources to meet the substantial costs and complex litigation issues inherent

  in this matter.

            31.     Requirements of Fed. R. Civ. Proc. 23(b)(3):            The questions of fact and law in

  Plaintiff’s and the Class’ claims predominate over any questions of fact and law applicable to

  any individual member of the Classes.         Due to the nature of the common questions of fact and

  law, a class action is the superior method for resolving these issues.

            32.     Specifically, a class action is superior because the issues relating to the

  Defendant’s liability can be resolved on a class-wide basis, leaving only the issues of calculation

  of each Class member’s individual damages.



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          33.     Plaintiff is not aware of any pending litigation concerning these issues brought by

  any other plaintiff.   Due to the size of each Class member’s claims, there is no reason to believe

  that individual Class members would wish to prosecute individual actions.

          34.     Superiority: A class action is superior to individual actions because of the

  following non-exhaustive factors:

          a.      Each Class member’s claim may only include one, or perhaps a few, phone calls
                  that violate the TCPA, thus making it impractical for plaintiffs to proceed
                  individually with their claims because it would be financially prohibitive for each
                  Class member to maintain a separate action;

          b.      Joinder of the Class members would be impracticable due to the number of
                  anticipated Class members and would create a hardship in the management of the
                  case;

          c.      There are no known individual Class members who wish to prosecute their claims
                  on their own;

          d.      Resolution of the Class members’ claims on an individual basis would run the risk
                  of inconsistent legal rulings and judgments;

          e.      The interests of justice would be best served by resolution of all of the Classes’
                  claims in one judicial forum; and

          f.       There are no anticipated management problems in handling this matter as a class
                  action.

          35.     Requirements of Fed. R. Civ. Proc. 23(b)(1) & (2): Prosecuting each Class

  member’s claims separately would result in a significant risk of inconsistent legal rulings and/or

  judgments which would create incompatible standards of conduct for the Defendant.

          36.     Furthermore Defendant has acted in a similar manner, employing consistent

  business practices, such that final injunctive relief or corresponding declaratory relief is

  appropriate respecting the class as a whole.




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                                          COUNT I
                   VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT


          37.     Plaintiff repeats the allegations set forth in paragraphs 1 through 36 above as if

  fully restated herein.

          38.     Defendant, or others acting at its request, placed non-emergency telephone calls

  to Plaintiff’s and the Class’ cellular telephones using an automatic telephone dialing system or

  pre-recorded or artificial voice in violation of 47 U.S.C § 227 (b)(1)(A)(iii).

          39.     Defendant did       not obtain the express consent of Plaintiff or the Class to place

  phone calls to their cellular phones using an automatic telephone dialing system or pre-recorded

  or artificial voice.

          40.     Defendant knowingly and intentionally violated the TCPA by placing phone calls

  to Plaintiff’s and the Class’ cellular phone using an automatic telephone dialing system or

  pre-recorded or artificial voice.

          41.     Plaintiff and the Class seek an injunction to enjoin Defendant’s violation of the

  TCPA.     47 U.S.C § 227 (b)(3)(A).

          42.     Plaintiff and the Class seek, for each of Defendant’s violation of the TCPA, $500

  for the respective member of the Class.             Plaintiff and the Class also seek for each of

  Defendant’s violations of the TCPA, all of which are willful or knowing, an additional $1,000

  for the respective member of the Class, for a total of $1,500 for each of Defendant’s violations of

  the TCPA. 47 U.S.C § 227 (b)(3)(B).

          WHEREFORE, Plaintiff requests that this Court enter judgment in favor of Plaintiff and

  the Class against Defendant.



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                              REQUEST FOR CLASS-WIDE RELIEF

         Wherefore, Plaintiff prays for judgment and relief, on behalf of himself and the Class,

  and against Defendant as follows:

         A.        Certifying this action as a class action as set forth herein and designating

  Plaintiffs as the Class Representative of, and his attorneys as class counsel for, the Class

  described above;

         B.        Awarding damages, as detailed above, on behalf of Plaintiff and the Class

  members in an amount to be proved at trial, including but not limited to damages for each of

  Defendant’s violations of the TCPA as to the Class;

         C.        Entering a PERMANENT INJUNCTION restraining and enjoining Defendant,

  and Defendant’s successors, assigns, officers, agents, servants, employees and any other person

  in active concert or participation with Defendant, from engaging in the acts or practices

  complained of herein, in including a permanent injunction prohibiting Defendant from placing

  non-emergency calls to Plaintiff’s and the Class’ cellular telephone using an automatic telephone

  dialing system or pre-recorded or artificial voice, without their prior express consent;

         D.        Awarding Plaintiff and the Class all expenses, costs and disbursements incident to

  the prosecution of this action, including reasonable attorneys’ fees; and

         E.        For such other and further relief as allowed by law and/or as is equitable under the

  circumstances.

                                     REQUEST FOR JURY TRIAL

         Plaintiff hereby requests a trial by jury of all issues so triable as a matter of right.

         Dated: October 6, 2015



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                                                     Respectfully submitted,

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